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FILED BY ___ DCL
lN THE UNITED STATES DiSTRlCT COURT t

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WEsTERN oivrsioN AUG 30 PH h. il

WOMAS§_
UNiTED STATES OF AMER|CA, * CLE§;/K §§ ngme
Piaintiff, *
vs. * Criminai No. 04-20078-|\/|| V
RYAN FOSTER WOODRUFF, *
Defendant. *

 

PREL|M|NARY ORDER OF FORFE|TURE

 

in indictment NumberO4-20078-Mi V, the United States sought forfeiture of specific
property of defendant Ryan FosterWoodruff, pursuant to 18 U.S.C. § 2252. On Aprii 22,
2004, the defendant, Ryan Foster Woodruff, entered a plea of guilty to Counts 1 and 2 of
the indictment
Accordingly, it is ORDERED:

1. Based upon the defendants guilty plea to Counts 1 and 2 of the indictment
Number 04-20078-|\/|| V, the United States is authorized to seize the following property
belonging to defendant Ryan Foster Woodruff, and his interest in it is hereby forfeited to
the United States for disposition in accordance with the iaw, subject to the provisions of 21
U.S.C. §853(n) and Ruie 32(d)(2) of the Federai Ruies of Criminal Procedure:

a. Any visual depiction described in Section 2252 of Titie 18 United
States Code, and any book, magazine, periodical, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or

received in violation of the above said statute;

This document entered on the docket sheet in com iianoe
with Ruie 55 and/or 32(b) FHCrP on 3 ‘.:z[ £;j

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b. Any property, real or personal, constituting or traceable to gross

profits or other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit

or to promote the commission of the above said offenses, including but not limited to the

foilowing:

1)

2)

4)

5)

One (1) Samsung Digimax 130 digital
camera, s/n 82317380, with case;

One (1) |\/iaxeii Cd Rom Titled "Mng”;

One (1) Speed Stream router, s/n
245015887, with power cord;

One (1) Motorola cable modern,
s/n 04820, 1025007137803031000;

One (1) PC Cione CPU no s/n, containing
one (1) Quantum i-iard Drive s/n,
1931 16376350tfzxx.

Ail pursuant to Titie 18, United States Code1 Section 2253.

2. The forfeited property is to be held by the United States i\/iarshal in his

secure custody, or, as may be necessary, the Attorney Generai may appoint a substitute

custodian.

3. Pursuant to 21 U.S.C. §853(n)(1), the United States Marshai shall publish at

least once a week for three successive weeks in a newspaper of general circulation in

Shelby County, Tennessee, notice of this order, notice of the United States’ intent to

dispose of the property in such manner as the Attorney Generai or his delegate may direct,

and notice that any person, other than the defendant, having or claiming a legal interest

in any of the above-listed forfeited property must file a petition with the court within thirty

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(30) days of the final publication of notice or of receipt of actual notice, whichever is earlier.
This notice shall state that the petition shall be for a hearing to adjudicate the validity of the
petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioner’s claim
and the relief sought. The United States li/|arshai or his delegate may use the attached
Lega| Notice.

The United States may aiso, to the extent practicable, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Pre|iminary Order of Forfeiture, as a substitute for published notice as to those persons so
notified

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Pre|iminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in thejudgment.

5. if no third party files a timely ciaim, this Order shall become the Final Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

6. The United States shall have cleartitle to the Subject Property following the
Court’s disposition of ali third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U_.S.C. §982(b) and

28 U.S.C. §2461(0), for the filing of third party petitions.

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

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necessary, pursuant to Fed. R. Crim. P. 32.2(e).

|T |S SO ORDERED this 39 day of M , 2005.

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JO P. iVlcCALLA
U ed States District Judge

 

PRESENTED BY:

TERRELL L. HARRiS
United States Attorney

c isToPHE`§ E. coTTEN
Assistant United States Attorney

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iN THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN DIVIS|ON

UN|TED STATES OF Ai\/iERiCA, *
Piaintiff, *
vs. * Criminal No. 04-20078-|\/|| V

3¢-

RYAN FOSTER WOODRUFF,

Defendant.

 

LEGAL NOT|CE

rake notice that on % 29 2005 ,the united states District court for the

Western District ofTennessee, Western Division, entered a Pre|iminary Order of Forfeiture

 

ordering that ali right, title and interest of the defendant Ryan Foster Woodruff in the
following property be forfeited to the United States to be disposed of in accordance with
law:

a. Any visual depiction described in Section 2252 of Titie 18 United States
Codel and any book, magazine, periodical, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. . Any property, real or personal, used or intended to be used to commit or to

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following.'

1)

One (1) Samsung Digimax 130 digital
camera, s/n 82317380, with case;

One (1) Maxeil Cd Rom Tit|ed “lVlng";

One (1) Speed Stream router, s/n
245015887, with power cord;

One (1) Motorola cable modern,
s/n 04820, 1025007137803031000;

One (1) PC Cione CPU no s/n, containing
one (1) Quantum Hard Drive s/n,
193116376350tfzxx.

Ali pursuant to Titie 18, United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney

Generai or his delegate may direct. Any person, other than the defendant, having or

claiming a legal interest in the above-listed forfeited property must file a petition with the

Court within thirty (30) days of the final publication of this notice or of receipt of actual

notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of

the petitioner’s alleged interest in the property, shall be signed by the petitioner under

penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, title, or

interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and relief sought

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-20078 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

ENNESSEE

 

Dan Nevvsom

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Honorable J on McCalla
US DISTRICT COURT

